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 9
10                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
11
12
       Edgar Carrillo,                         Case No.
13
                 Plaintiff,
14                                             Complaint For Damages And
         v.                                    Injunctive Relief For Violations
15                                             Of: American’s With Disabilities
       San Francisco Investments, LLC,         Act; Unruh Civil Rights Act
16     a California Limited Liability
       Company;
17     Lynwood City Carwash, Inc., a
       California Corporation; and Does 1-
18     10,
19               Defendants.
20
21         Plaintiff Edgar Carrillo complains of San Francisco Investments, LLC, a
22   California Limited Liability Company; Lynwood City Carwash, Inc., a
23   California Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
24
25     PARTIES:
26     1. Plaintiff is a California resident with physical disabilities. He is
27   paralyzed and uses a wheelchair for mobility.
28     2. Defendant San Francisco Investments, LLC owned the real property


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 1   located at or about 12606 Long Beach Blvd., Lynwood, California, in April
 2   2019.
 3     3. Defendant San Francisco Investments, LLC owns the real property
 4   located at or about 12606 Long Beach Blvd., Lynwood, California, currently.
 5     4. Defendant Lynwood City Carwash, Inc. owned Lynwood Carwash
 6   located at or about 12606 Long Beach Blvd., Lynwood, California, in April
 7   2019.
 8     5. Defendant Lynwood City Carwash, Inc. owns Lynwood Carwash
 9   (“Carwash”) located at or about 12606 Long Beach Blvd., Lynwood,
10   California, currently.
11     6. Plaintiff does not know the true names of Defendants, their business
12   capacities, their ownership connection to the property and business, or their
13   relative responsibilities in causing the access violations herein complained of,
14   and alleges a joint venture and common enterprise by all such Defendants.
15   Plaintiff is informed and believes that each of the Defendants herein,
16   including Does 1 through 10, inclusive, is responsible in some capacity for the
17   events herein alleged, or is a necessary party for obtaining appropriate relief.
18   Plaintiff will seek leave to amend when the true names, capacities,
19   connections, and responsibilities of the Defendants and Does 1 through 10,
20   inclusive, are ascertained.
21
22     JURISDICTION & VENUE:
23     7. The Court has subject matter jurisdiction over the action pursuant to 28
24   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
25   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
26     8. Pursuant to supplemental jurisdiction, an attendant and related cause
27   of action, arising from the same nucleus of operative facts and arising out of
28   the same transactions, is also brought under California’s Unruh Civil Rights


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 1   Act, which act expressly incorporates the Americans with Disabilities Act.
 2       9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 3   founded on the fact that the real property which is the subject of this action is
 4   located in this district and that Plaintiff's cause of action arose in this district.
 5
 6       FACTUAL ALLEGATIONS:
 7       10. Plaintiff went to the Carwash in April 2019 with the intention to avail
 8   himself of its services to assess the business for compliance with the disability
 9   access laws.
10       11. The Carwash is a facility open to the public, a place of public
11   accommodation, and a business establishment.
12       12. The Carwash has a sales counter where it handles its transactions with
13   customers.
14       13. Unfortunately, on the date of the plaintiff’s visit, the defendants did not
15   provide an accessible sales counter in conformance with the ADA Standards.
16       14. Currently, the defendants do not provide an accessible sales counter in
17   conformance with the ADA Standards.
18       15. Restrooms are one of the facilities, privileges, and advantages offered
19   by Defendants to patrons of the Carwash.
20       16. Unfortunately, on the date of plaintiff’s visit, the defendants did not
21   provide an accessible restroom in conformance with the ADA Standards. 1
22       17. Currently, the defendants do not provide an accessible restroom in
23   conformance with the ADA Standards.
24       18. Plaintiff personally encountered these barriers.
25       19. By failing to provide accessible facilities, the defendants denied the
26
27   1
       For example, the restroom mirror is too high. On information and belief there are other issues with the
     restroom that renders it non-compliant. Those issues will be fleshed out in discovery and inspections. The
28   plaintiff seeks to have a fully compliant restroom provided.



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 1   plaintiff full and equal access.
 2     20. The lack of accessible facilities created difficulty and discomfort for the
 3   Plaintiff.
 4     21. The defendants have failed to maintain in working and useable
 5   conditions those features required to provide ready access to persons with
 6   disabilities.
 7     22. The barriers identified above are easily removed without much
 8   difficulty or expense. They are the types of barriers identified by the
 9   Department of Justice as presumably readily achievable to remove and, in fact,
10   these barriers are readily achievable to remove. Moreover, there are numerous
11   alternative accommodations that could be made to provide a greater level of
12   access if complete removal were not achievable.
13     23. Plaintiff will return to the Carwash to avail himself of its services and to
14   determine compliance with the disability access laws once it is represented to
15   him that the Carwash and its facilities are accessible. Plaintiff is currently
16   deterred from doing so because of his knowledge of the existing barriers and
17   his uncertainty about the existence of yet other barriers on the site. If the
18   barriers are not removed, the plaintiff will face unlawful and discriminatory
19   barriers again.
20     24. Given the obvious and blatant nature of the barriers and violations
21   alleged herein, the plaintiff alleges, on information and belief, that there are
22   other violations and barriers on the site that relate to his disability. Plaintiff will
23   amend the complaint, to provide proper notice regarding the scope of this
24   lawsuit, once he conducts a site inspection. However, please be on notice that
25   the plaintiff seeks to have all barriers related to his disability remedied. See
26   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
27   encounters one barrier at a site, he can sue to have all barriers that relate to his
28   disability removed regardless of whether he personally encountered them).


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 1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 2   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 3   Defendants.) (42 U.S.C. section 12101, et seq.)
 4     25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 5   again herein, the allegations contained in all prior paragraphs of this
 6   complaint.
 7     26. Under the ADA, it is an act of discrimination to fail to ensure that the
 8   privileges, advantages, accommodations, facilities, goods and services of any
 9   place of public accommodation is offered on a full and equal basis by anyone
10   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
11   § 12182(a). Discrimination is defined, inter alia, as follows:
12            a. A failure to make reasonable modifications in policies, practices,
13                or procedures, when such modifications are necessary to afford
14                goods,    services,    facilities,   privileges,    advantages,   or
15                accommodations to individuals with disabilities, unless the
16                accommodation would work a fundamental alteration of those
17                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
18            b. A failure to remove architectural barriers where such removal is
19                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
20                defined by reference to the ADA Standards.
21            c. A failure to make alterations in such a manner that, to the
22                maximum extent feasible, the altered portions of the facility are
23                readily accessible to and usable by individuals with disabilities,
24                including individuals who use wheelchairs or to ensure that, to the
25                maximum extent feasible, the path of travel to the altered area and
26                the bathrooms, telephones, and drinking fountains serving the
27                altered area, are readily accessible to and usable by individuals
28                with disabilities. 42 U.S.C. § 12183(a)(2).


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 1     27. When a business provides facilities such as a sales or transaction
 2   counter, it must provide an accessible sales or transaction counter in
 3   compliance with the ADA Standards.
 4     28. Here, no such accessible sales counter has been provided in compliance
 5   with the ADA Standards in violation of the ADA.
 6     29. When a business provides facilities such as a restroom, it must provide
 7   an accessible restroom in compliance with the ADA Standards.
 8     30. Here, no such accessible restroom has been provided.
 9     31. The Safe Harbor provisions of the 2010 Standards are not applicable
10   here because the conditions challenged in this lawsuit do not comply with the
11   1991 Standards.
12     32. A public accommodation must maintain in operable working condition
13   those features of its facilities and equipment that are required to be readily
14   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
15     33. Here, the failure to ensure that the accessible facilities were available
16   and ready to be used by the plaintiff is a violation of the law.
17
18   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
19   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
20   Code § 51-53.)
21     34. Plaintiff repleads and incorporates by reference, as if fully set forth
22   again herein, the allegations contained in all prior paragraphs of this
23   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
24   that persons with disabilities are entitled to full and equal accommodations,
25   advantages, facilities, privileges, or services in all business establishment of
26   every kind whatsoever within the jurisdiction of the State of California. Cal.
27   Civ. Code §51(b).
28     35. The Unruh Act provides that a violation of the ADA is a violation of the


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 1   Unruh Act. Cal. Civ. Code, § 51(f).
 2      36. Defendants’ acts and omissions, as herein alleged, have violated the
 3   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 4   rights to full and equal use of the accommodations, advantages, facilities,
 5   privileges, or services offered.
 6      37. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 7   discomfort or embarrassment for the plaintiff, the defendants are also each
 8   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 9   (c).)
10
11             PRAYER:
12             Wherefore, Plaintiff prays that this Court award damages and provide
13   relief as follows:
14           1. For injunctive relief, compelling Defendants to comply with the
15   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
16   plaintiff is not invoking section 55 of the California Civil Code and is not
17   seeking injunctive relief under the Disabled Persons Act at all.
18           2. Damages under the Unruh Civil Rights Act, which provides for actual
19   damages and a statutory minimum of $4,000 for each offense.
20           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
21   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
22
23   Dated: June 12, 2019                 CENTER FOR DISABILITY ACCESS
24
25
                                          By:
26                                        ____________________________________
27                                               Russell Handy, Esq.
28                                               Attorney for plaintiff


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